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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )      No. 07-10180-02-WEB
                                                      )
BRIAN P. RENNEISEN,                                   )
                                                      )
                       Defendant,                     )
                                                      )
and                                                   )
                                                      )
EDWARD JONES                                          )
731 North 2nd Street, Suite B                         )
Albermarle, NC 28001,                                 )
                                                      )
                       Garnishee-Defendant.           )
                                                      )


                                    Memorandum and Order

       This matter is before the court on an objection to a Writ of Garnishment. The objection

was submitted to the court via e-mail and was filed at the direction of the court.

       I. Background.

       A Writ of Continuing Garnishment was issued by the Clerk of the Court to Edward Jones

on January 21, 2010. Doc. 340. The United States’ application in support of the writ alleged

that a judgment in the amount of $1,430,200.00 had been entered against defendant Brian P.

Renneisen and that a balance of $1,403,930.94 remained owing as of January 21, 2010. Doc.

339.

       Garnishee Edward Jones filed its answer on February 1, 2010, stating that it held the

following property in which the debtor had an interest: 1) a self-directed IRA account containing
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seven mutual funds with a total value of $21,290.00; 2) a joint account containing one mutual

fund, one municipal bond, and one corporate bond, with a total value of $11,877.00; and 3) a

corporate account containing three mutual funds with a total value of $1,262.00. Doc. 342.

       On February 3, 2010, the United States filed a Certificate stating that it had served

defendant Renneisen by certified mail with a copy of the writ, together with instructions on how

to claim exemptions, at his “last known address” at a residence in Media, Pennsylvania. Doc.

343. It is unclear from the record whether this was in fact Mr. Renneisen’s address at the time of

such service, given that the court had sentenced him to a term of 60 months’ imprisonment on

November 16, 2009, and allowed him to voluntarily surrender to the institution designated by the

Bureau of Prisons. Doc. 343.

       On February 24, 2010, the United States filed notice that it had served a copy of the writ

and other documents, including instructions pertaining to garnishment and the garnishee’s

answer, upon Paula S. Renneisen, the defendant’s wife, whom it believed had an interest in the

property listed by the Garnishee. The certificate of service shows the foregoing notice was

served upon Ms. Renneisen and also upon defendant Brian Renneisen at the Fort Dix FCI. Doc.

349.

       On March 22, 2010, the court received a proposed order from the United States, which

stated that Brian Renneisen had been served and had not requested a hearing, and that although

Ms. Renneisen had a power of attorney for Brian Renneisen and also personally claimed an

interest in at least one of the accounts, the United States had requested documentation from her

and no such documentation had been received. The proposed order would have directed the

Garnishee to pay the proceeds of the accounts to the United States. On the same day, the court


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received an e-mail message ostensibly from Paula Renneisen stating that, “[o]n behalf of Brian

Renneisen, I would like to formally object to the garnishment of Edward Jones account [XXX-

XX962-1-9] ... based on the fact that this account was not listed in the Third Superseding

Indictment nor was it listed in the accounts for forfeiture in the Plea Agreement....” The message

further stated that “[r]egarding Joint Edward Jones account [XXX-XX555-1-6], information was

provided to [the United States] on February 23, 2010,” and “[a]n inquiry for additional

information was passed on to my accountant.” The court directed that the e-mail message be

filed (see Doc. 356), and that the United States file a response thereto. The response of the

United States has now been filed. Doc. 368.

       II. Discussion.

       To the extent Ms. Renneisen attempts to assert an objection on behalf of Brian

Renneisen, the court concludes that the objection must be stricken, because Ms. Renneisen has

no standing to represent the defendant in this court proceeding. A litigant in federal court may

conduct their own cases personally or by counsel. 28 U.S.C. § 1654. This means a party has a

right to act as his or her own counsel, but may not act as a legal representative for someone else

in a court proceeding. See D.Kan.R. 83.5.1 (only attorneys admitted to practice before this court

may appear and practice in court, but this does not prohibit an individual from appearing

personally on his or her own behalf). This is true even if the person has a “power of attorney”

granting authority to prosecute claims or appear for another person. Such a power may only be

exercised in a court proceeding through representation by a licenced attorney. See e.g. Dorsey v.

McKune, 2007 WL 4557677, *1, n.1 (D. Kan., Dec. 20, 2007) (“A power of attorney may not be

used to circumvent prohibitions on the unauthorized practice of law.”); Kapp v. Booker, 2006


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WL 385306, *2 (E.D. Ky. 2006) (“While the power of attorney gives Ms. Kapp legal standing to

assert claims owned by her husband on his behalf, it does not authorize her to practice law by

representing another person, her husband, in a lawsuit: that must still be done by a licensed

attorney.”).

       As noted above, the answer of the garnishee states that it holds three accounts with

property of the debtor. Ms. Renneisen’s e-mail attempts to object on the defendant’s behalf to

garnishment of the self-directed IRA account (Edward Jones account XXX-XX962-1-9). For the

reasons stated above, Ms. Renneisen has no standing to assert such objections, and her

objections concerning this account are denied.

       Ms. Renneisen has not stated or attempted to state any objection concerning the

garnishment of the corporate account (Edward Jones account XXX-X8241).

       Ms. Renneisen’s e-mail makes an ambiguous reference to the joint account (Edward

Jones account XXX-XX555-1-6). According to the United States she has claimed an interest in

this account, although it argues she “has failed to supply any documentation of a contributory

interest in the account.” Doc. 368 at 7. In its present form, Ms. Renneisen’s e-mail objection is

clearly insufficient to show any interest in the joint account. Out of an abundance of precaution,

however, the court will grant her until May 12, 2010, to file a claim clearly setting forth

whatever property or ownership interest she claims in the joint account and the basis for that

interest, supported by an affidavit under oath stating that the facts she asserts are true and

correct.




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       III. Conclusion.

       Ms. Renneisen’s objections concerning Edward Jones account XXX-XX962-1-9 are

denied. Additionally, no objections concerning Edward Jones account XXX-X8241 have been

filed. Accordingly, the United States may submit for the court’s approval a proposed order for

disposition of the property in these two accounts.1

       As to Edward Jones account XXX-XX155-1-6, Paula Renneisen is granted until May 12,

2010, to file a claim with the Clerk of the District Court setting forth the facts to show any

property or ownership interest she claims in that account.

       IT IS SO ORDERED this 30th Day of April, 2010, at Wichita, Ks.


                                              s/Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge




       1
         Alternatively, the United States may wait and submit an order for disposition of all
three accounts after the court resolves any dispute concerning the joint account.

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